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                                                     January 17, 2025
 By ECF

 The Honorable Taryn A. Merkl
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

              Re:    Trooper 1 v. Cuomo, et al.; Case No. 22-cv-00893 (LDH) (TAM)

 Dear Judge Merkl:

              This firm represents non-parties Virginia Limmiatis, Alyssa McGrath,
 and together with our co-counsel Kevin Mintzer, Brittany Commisso. All three
 women (together, the “Witnesses”) have been subjected to Defendant Cuomo’s
 harassing discovery tactics in this case for nearly two years. As Your Honor has
 heard before, none of these Witnesses has any first-hand information about what
 Trooper 1 specifically experienced. While Ms. Commisso and Ms. McGrath did work
 in the Executive Chamber, they are not aware of ever having spoken to Trooper 1 or
 having been in the presence of any specific female trooper with Defendant Cuomo.
 Ms. Limmiatis never worked for New York State and her single incident, from May
 2017, predates any of Trooper 1’s alleged interactions with Defendant Cuomo.

               We write now, pursuant to Your Honor’s December 11, 2024 Order, to
 object to the deposition subpoenas issued by Defendant Cuomo to the Witnesses
 dated December 13, 2024 for two reasons. First, the subpoenas are invalid because
 they were served absent a tendered witness fee in clear violation of Rule 45.
 Second, we object to the subpoenas because they impose an undue burden on our
 clients, two of whom (Ms. Commisso and Ms. McGrath) will be deposed in the
 separate sexual harassment lawsuit Ms. Commisso filed in Albany County, which
 alleges that Defendant Cuomo subjected her to unwanted touching and other
 discriminatory conduct while she was a State employee. See Commisso v. Cuomo et
 al., No. 911286-23, (Sup. Ct. Albany Cnty. 2024), Doc. 3 (“Commisso Complaint”).
 The scope of Ms. Commisso’s and Ms. McGrath’s testimony in the Commisso matter
 will be broader than and will encompass entirely any testimony sought from them
 in this case. Ms. Limmiatis is unlikely to be called by Plaintiff in the Commisso
 matter, but Defendant Cuomo has refused to commit to questioning Ms. Limmiatis
 in full and based on whatever documents or information they have available to
 them now, and has reserved the right to depose her again, including in Commisso.

               The subject matter of the Witnesses’ testimony is deeply upsetting. To
 sit for even a single deposition by their accused harasser (on top of the video
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 testimony they already provided to the Attorney General’s Office) would re-
 traumatize them, much less two depositions regarding the same disturbing subject
 matter, in quick succession. We respectfully request that the Court quash the
 subpoenas as procedurally invalid or, in the alternative, modify the subpoenas to
 permit a single deposition of each of the Witnesses, to be used in this case and any
 other case concerning Defendant Cuomo’s harassment and gender discrimination.

 Procedural History

               All three Witnesses were first served with document subpoenas and
 deposition subpoenas in Spring 20231. All three Witnesses made document
 productions. In total, Ms. Limmiatis has produced 10 pages of materials; Ms.
 Commisso has produced 153 pages of responsive documents and one video
 recording; and Ms. McGrath has produced 394 pages of responsive documents.
 Even after significant document productions by the Witnesses, Defendant Cuomo
 sought still more document discovery and to pursue non-party depositions. In
 January 2024, this Court issued an order narrowing the scope of non-party
 document discovery and holding non-party depositions in abeyance until party
 discovery had been completed. See Dkt. No. 220.

               Ms. Commisso filed her Verified Complaint against Defendants Cuomo
 and the State of New York on June 17, 2024, alleging that Defendant Cuomo
 subjected her to unwanted physical touching, a hostile work environment, and other
 discriminatory and retaliatory conduct while she was an employee working in the
 Executive Chamber. See Commisso Complaint. Defendant moved to dismiss the
 retaliation claims on September 13, 2024, and, after full briefing, the Supreme
 Court decided the motion just two months after it was filed, on November 20, 2024.
 There is a discovery conference before that court set for January 27.

 Defendant Cuomo Improperly Serves Subpoenas and Refuses to Agree to
 Reasonable Limitations

              On December 11, 2024, this Court issued a text order limiting the
 number of non-party depositions Defendant was permitted to take in this case and
 directing Defendant to serve deposition subpoenas on third-party complainants by
 December 16, 2024. On December 13, 2024, Defendant’s counsel sent an email
 pasting the Court’s order and attaching deposition subpoenas for the Witnesses.
 Defense counsel did not tender any witness fees with any of the subpoenas. In the
 same email counsel asked non-party counsel if we accepted service of the subpoenas.
 On December 18, 2024, we stated that we were authorized to accept the emailed
 documents but that we expressly reserved our rights to object to the form and
 substance of the subpoenas. Defense counsel did not respond or make further
 inquiries, and they did not send the requisite Rule 45 witness fees at that time.


 1 Ms. Commisso was represented by different counsel at the time she responded

 initially to the document subpoena.
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              We exchanged emails with Defendant’s counsel about the Witnesses’
 depositions, described further below, but were not able to reach agreement.

 The Subpoenas Are Invalid Because They Were Improperly Served

               The Federal Rules expressly require that a witness fee must be
 tendered simultaneously with delivery of a deposition subpoena. See Fed. R. Civ. P.
 45(b)(1); Brown v. Hendler, 09 Civ. 4486, 2011 WL 321139, at *2 (S.D.N.Y. Jan. 31,
 2011 (“the plain meaning of Rule 45 [] requires simultaneous tendering of witness
 fees and the reasonably estimated mileage allowed by law with service of a
 subpoena[.]”). This requirement is “strictly enforced,” and courts have routinely
 quashed subpoenas where the serving party failed to include a witness fee with the
 subpoena. See, e.g., Juliao v. Charles Rutenberg Realty, Inc., 14 CV 0808, 2018 WL
 5020167, at *6, (E.D.N.Y. July 23, 2018), report and recommendation adopted, 2018
 WL 4502172 (E.D.N.Y. Sept. 20, 2018) (quashing subpoena where no witness fee
 tendered); Carey v. Air Cargo Assoc., Inc., M. 18-302, 09-2353, 2011 WL 446654, at
 *3 (S.D.N.Y. Feb. 7, 2011) (collecting cases); Song v. Dreamtouch, Inc., 01 Civ. 0386,
 2001 WL 487413 at *7 (S.D.N.Y. May 8, 2001) (“Where no fee is tendered with the
 service of a subpoena requiring a witness' attendance, the service is invalid.”).

               Defendant failed to tender witness fees to the Witnesses at the time he
 delivered the deposition subpoenas. As of this filing, a month after we alerted
 defense counsel to the subpoenas’ deficient form, the Witnesses have not received
 the required witness fees. He has blamed the Witnesses for his own failure,
 claiming it is a witness’s job to inform defense counsel about mileage fees, but that
 is not the law. The witness fee deficiency alone warrants quashing the subpoenas.
 Moreover, in light of this Court’s order directing Defendant to serve third-party
 complainant subpoenas by December 16, 2024, Defendant’s deficient service renders
 the subpoenas untimely. See Anderson v. Bungee Intern. Mfg. Corp., 96 Civ. 0186,
 1999 WL 219904, at *2 (S.D.N.Y. Apr. 14, 1999) (collecting cases).

 Alternatively, the Court Should Impose Limits to Minimize the Undue
 Burden

               Should the Court choose to overlook the subpoenas’ procedural
 deficiencies, the Court should exercise its broad discretion to modify the subpoenas
 to permit the Witnesses to sit for a single deposition each2, because otherwise they
 would be subjected to “undue burden,” and there is no prejudice whatsoever to
 Defendant Cuomo. Fed. R. Civ. P. 45(d)(3)(A)(iv); Johnson v. Bryco Arms, 226
 F.R.D. 441, 444 (E.D.N.Y. 2005). Rule 45 also provides that “[a] party or attorney
 responsible for issuing and serving a subpoena must take reasonable steps to avoid


 2 We seek in the alternative other means of decreasing the burden on the Witnesses,

 including without limitation depositions by written questions under Rule 31, as
 proposed by Your Honor.
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 imposing undue burden or expense on a person subject to the subpoena.” Fed. R.
 Civ. P. 45(d)(1); see Homeward Residential, Inc. v. Sand Canyon Corp., 12 Civ. 5067,
 2017 WL 4676806, at * 18 (S.D.N.Y. Oct. 17, 2017).

                Whether a subpoena imposes an undue burden depends on factors
 including the relevance of and the need of the serving party for the discovery, and
 the burden imposed on the subpoenaed party. See, e.g., Travelers Ins. Co. v. Met.
 Life Ins. Co., 228 F.R.D. 111, 113 (D. Conn. 2005) (quashing non-party subpoena
 that would impose an undue burden). Courts including this one “take[] special
 notice” of the non-party status of a witness “in considering the proportionality of the
 discovery requests made of her and regarding her.” Trooper 1 v. New York State
 Police, 22 CV 893 (LDH)(TAM), 2024 WL 168326, at *2 (E.D.N.Y. Jan. 16, 2024); see
 Breaking Media, Inc. v. Jowers, 21 Misc. 194, 2021 WL 1299108, at *6 (S.D.N.Y.
 Apr. 7, 2021); id. at 114. In conducting its analysis, “the Court may also consider
 under Rule 26(b)(2)(C)(i) if the discovery can be obtained from some other source
 that is more convenient or less burdensome.” Solomon v. Nassau Cnty., 274 F.R.D.
 455, 461 (E.D.N.Y. 2011) (internal quotation marks omitted).

       A.     Ms. Commisso and Ms. McGrath

               Here, a less burdensome option – i.e., deposing Ms. Commisso and Ms.
 McGrath regarding substantially the same subject matter in the Commisso matter
 – is plainly available. The testimony to be elicited in this case, which relates to the
 Witnesses’ knowledge (if any) regarding Trooper 1 and/or Trooper 1’s allegations ,
 as well as their own allegations of unlawful and inappropriate workplace conduct by
 Defendant Cuomo, will necessarily be covered in the Commisso matter. As Your
 Honor observed previously in an analogous situation involving a complainant’s
 request to sit for a single deposition, in her own lawsuit, the “inherent burden of
 being deposed” and the Witnesses’ “lack of knowledge regarding Trooper 1 or
 Trooper 1’s allegations,” makes requiring them to sit for depositions in this case and
 in the Commisso case cumulative and disproportionate to the needs of this case. See
 Dkt. No. 219 (Discovery Order re Bennett’s Motion to Quash) at 5. Moreover, there
 is no prejudice to Defendant Cuomo in taking this approach.

              For Ms. Commisso, a party in her own lawsuit, to give sworn testimony
 multiple times regarding substantially the same topics would impose an
 unnecessary burden on her and would serve no proper purpose other than to harass
 and bully her. And for Ms. McGrath, a non-party in both cases, subjecting her to
 multiple, cumulative depositions would likewise impose an undue burden on her.

               Defendant has not articulated any prejudice he would suffer by
 prioritizing these depositions in the Commisso matter in light of our assurance that
 in the event the two depositions have not occurred prior to trial (or even in limine
 motions) in this matter, then we would make the Witnesses available in this case.
 Nor could they, because they would obtain the same testimony by other means and
 in time to use it in whatever way realistically they might need to do so. See Vale v.
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 Great Neck Water Pollution Control Dist., 14 CV 4229, 2016 WL 11269253, at *3
 (E.D.N.Y. May 31, 2016) (“[I]it is settled that ‘judges may prevent [a] proposed
 deposition when the facts and circumstances are such that it creates an
 inappropriate burden or hardship.’”) (quoting In re Subpoena Issued to Dennis
 Friedman, 350 F. 3d 65, 70 (2d Cir. 2003)). Defense counsel claims they need these
 depositions for dispositive motion practice, prior to trial. But, additional testimony
 from the Witnesses beyond the sworn testimony already provided concerning their
 experiences of sexual harassment and gender discrimination could only go to the
 Witnesses’ credibility, which is an issue for trial, not summary judgment or other
 motion practice. We have invited defense counsel to explain how these depositions
 would assist them in pre-trial motion practice, and they have refused to provide any
 basis.

       B.     Ms. Limmiatis

               Subject expressly to our objection to the form of Defendant Cuomo’s
 untimely and defective subpoena (which is itself a basis to quash, which we seek,
 supra), we explored defense counsel’s proposal to conduct a two-hour Zoom
 deposition of Ms. Limmiatis. We have expressly told Defendant that currently we
 see no reason to call Ms. Limmiatis in the Commisso matter given the narrower
 scope of allegations. Precisely because Ms. Limmiatis’s harassment experience is
 limited – she did not work for or with Defendant Cuomo, and had a single incident
 with him at a public event in May 2017 – we repeatedly asked Defendant to commit
 to questioning Ms. Limmiatis to the full extent possible based on the extensive
 materials in his possession (a prior video deposition, documents, photographs) in
 order to minimize the likelihood of any future deposition, barring discovery of new
 information after her deposition. They have repeatedly refused, saying instead only
 that they won’t repeat questions in a future deposition. The difference in the
 representations is material: we are seeking Defendant’s commitment to consider all
 the materials they have available now, in order to minimize the possibility of future
 depositions and the potential burden on her. By contrast, defense counsel has
 agreed only to not “retread” any questions that they unilaterally may choose to ask
 in this Trooper 1 matter.
                                          ***
               We have proposed a practical approach that would permit Defendant
 to obtain the testimony he seeks while also preventing unnecessary burden on these
 three non-parties in the process. Defendant has been uninterested in entertaining
 any such compromise. We therefore reluctantly seek the Court’s assistance in
 resolving this dispute, and thank the Court for its attention to this matter.

                                               Respectfully submitted,


                                               Alice G Reiter
                                               Mariann Meier Wang
                                               Daniel Mullkoff
